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AO 106 (Rev. 04/10) Application for a Search Warrant



                                      UNITED STATES DISTRICT COURT
                                                                       for the
                                                                District of Delaware

              In the Matter of the Search of                              )

                                                                                                11- -2.SI J\-\
         (Briefly describe the property to.be searched                    )
         · or identify the person by name and address)                    )         Case No.
    three cell phones, described more particularly on                     )
                      Attachment A                                        )
                                                                          )

                                             APPLICATION FOR A SEAR~JI WARRANT
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):                                                                                         ·

  See Attachment A

located in the     --------
                                                  District of   -----------~
                                                                              Delaware            , there is now concealed (identify the
person or describe the property to be seized):

  See Atachment B

          The basis for the search under Fed. R. Crim. P. 4l(c) is (check one or more):
               ~evidence of a crime;
                 D contraband, fruits of crime, or other items illegally possessed;
                 D property designed for use, intended for use, or used in committing a crime;
                 D a person to be arrested or a person who is unlawfully restrained.                                          r---.J
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          The search is related to a violation of:                                                                            CJ
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             Code Section                                                           Offense Description                   .   ('"")

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        18 ucs 1951                                Hobbs Act Extortion
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          The application is based on these facts:                                                                                     S>g
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        See attached affidavit
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           rJ Continued on the attached sheet.
           D Deiayed notice of _ _ days (give exact ending date if more than 30 days: - - - - - ) is requested
             under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.


                                                                                         -!/JA ([µ
                                                                                                 Applicant's signature

                                                                                               SA Garret M. Kerley, FBI
                                                                                                 Printed name and title

Sworn to before me and signed in my presence.


Date:      \~}~?-I ~o\1
City and state: Wiimington, Delaware
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                                          Attachment A



Three cellular telephones, each in the custody of the FBI at its offices in Wilmington, Delaware, and
described more particularly as follows:



             1. LG Verizon cell phone; model number LG-VS415PP; SIN: 501CQJZ0963996;
                MEID HEX: Al00003ED03E5C. Its assigned telephone number was 470-201-
                8510.

             2. LG Verizon cell phone; model number LG-VS415PP; SIN: 501 CQGW0964031;
                MEID1HEX: Al00003ED03E7F. Its assigned telephone number was 470-201-
                8534.

             3. Samsung Galaxy S-5 cell phone; model number SM-G900T; IMEI:
                 353682/06/135514/3; SIN: R38F803XWGX; (1) 8GB SD card (1) T-Mobile SIM
               . card. Its assigned telephone number was 302-887-0072.
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                                      Attachment B



Particular Things to be Seized

All incoming and outgoing data stored in the three cell phones listed in Attachment A and their
memory cards that relates to Hobbs Act extortion under color.of official right, Title 18, United
States Code Section 1951, involving the smuggling of a cell phone into the Delores J. Baylor
Women's Correctional Center by Correction Officer Lorraine Y. Mosley. The digital form of
this data is to include information of communications between and among the three referenced
cell phones and also the cell phone assigned telephone number 302-241-7282 to include the
following:
a.     Telephone calls, including two calls occurring on March 26, 2015, at 10:07:10 P.M. (32
seconds) and 11:00:28 P.M. (one minute, 27 seconds)
b.      Names, telephone numbers, user names, and other identifying information
c.      Images and other visual depictions.
d.      Text and voice mail messages.
e.      Passwords
Also, this data is to include evidence of user attribution, demonstrating who used the cellular
telephones at the time data contained therein was created, edited, or deleted, such as logs, names,
and topical content.
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                             CRIMINAL COMPLAINT AFFIDAVIT

I, Garret M. Kerley being duly sworn, depose and state:

1.    I am a Special Agent with the Federal Bureau of Investigation ("FBI") assigned to the

      Wilmington, Delaware Resident Agency. I have been a Special Agent since March 9, 2003.

                                        Purpose of Complaint

2.    By way of background, the FBI and the Delaware Department of Corrections ("DE-DOC")

      conducted a joint investigation to combat corruption within PE-DOC facilities.

3.    This affidavit is in support of a search warrant to search three cell phones, described more

      particularly on Attachment A, ("the three phones"), relating to the investigation and

      prosecution of Lorraine Y. Mosley, who is charged by Indictment (United States v. Lorraine

       Y. Mosley, Crim. Action No 17-18 LPS) with conspiracy to commit extortion under color of

      official right, in violation of 18 U.S.C. 1951.     SA Joaquin Balaguer was the original FBI

       case agent. He has been reassigned to FBI headquarters and I now am the case agent.         This

       affidavit is based upon the investigative information left me by SA Balaguer, as well as on

      the investigation conducted by other coordinating law enforcement agencies. -Because this

       affidavit is submitted for the limited purpose of supporting an application for a search

      warrant, I have not included every fact that I know concerning this investigation. I have set

       forth only the facts I believe are necessary to establish probable cause to believe that a search

       of the three phones will produce evidence of violations of Hobbs Act extortion, in violation

       of Title 18, United States Code, Section 1951(a).

4.     The Hobbs Act, at Title 18, United States Code, Section 1951(a) provides, in relevant part:

       "Whoever in any way or degree ... affects commerce or the movement of any article or

       commodity in commerce, by . . . extortion or attempts or conspires to do so [is guilty of a

       crime.]" Subsection (b)(2) reads, in part: "The term 'extortion' means the obtaining of

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         property from another, with his consent, ... under of color. of official right." "[W]hen

         proceeding under a 'color of official right' theory, the 'misuse of public office' is said to

         supply the element of coercion." United States v. Manzo, 636 F.3d.56, 65 (3d. Cir. 2011).

         Accordingly, the Hobbs Act is necessarily violated when a corrections officer or other trusted

         prison employee smuggles into a prison for an inmate, in return for a bribe, a cell phone that

         has moved in interstate commerce. 1 See United States v. French, 628 F.2d 1069 (8th Cir.

         1980) (city marshal in obtaining fee for himself personal!y as quid pro quo for refraining

         from collecting full amount from surety on default of bail bonds committed Hobbs Act

         extortion); UnitedStatesv. Braasch, 505F.2d139 (7th Cir. 1974) (police vice squad members

       . properly convicted of Hobbs Act extortion where they used the power and authority vested

         in them to obtain money from bar owners in return for not enforcing the law).

                                            Statement of Probable Cause

5.       On or about June 1, 2015, at the Delores J. Baylor Women's Correctional Institution

         ("WCI"), Correction Officers seized a cell phone that had been smuggled into the prison

         ("the smuggled phone"). WCI investigators examined the smuggled phone, described as LG

         Verizon cell phone; model number LG-VS415PP; SIN: 501CQJZ0963996; MEID HEX:

         Al00003ED03E5C. It was assigned telephone number 470-201-8510. Through its logged

         incoming/outgoing telephone numbers, WCI investigators traced the smuggled phone to a

         certain WCI inmate ("the inmate"). (All WCI inmates ,musts list with prison staff the

         telephone numbers of friends and family with whom the inmates want to have telephone

         conversations on prison phones. In the instant matter, the telephone numbers in the smuggled

         phone's logs matched the numbers on file with WCI for the inmate's family and friends.)




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    Your affiant knows that there are no cell phone manufactures in Delaware.
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     6. On or about June 4, 2015, WCI officials interviewed the         inm~te,   who provided the

        following information: Correction Officer ("CO") Lorraine Mosley smuggled the cell

        phone into WCI and delivered it to her, the inmate, in return for $100. Sometime in May

        2015, the inmate gave to her associate ("the inmate's associate") CO Mosley's personal

        cell phone number and asked the inmate's associate to meet CO Mosley outside WCI and

        deliver to CO Mosley $100 cash and a cell phone, which CO Mosley then would smuggled

        into WCI for the inmate. The inmate's associate did as requested and on or about May 27,

        2015, CO Mosley called her, the inmate, over to the entrance of a staff bathroom and told

        her that the smuggled cell phone was hidden inside the toilet paper container. ·she then

        went into the bathroom, found the smuggled cell phone in the toilet paper container, and

        took the cell phone from the bathroom.

7.     Also on or about June 4, 2015, WCI investigators observed video surveillance of the WCI

       for May 27, 2015, specifically the video depicting the door to the relevant staff bathroom.

       The video corroborates the inmates explanation about her retrieval of the smuggled cell

       phone from the WCI staff bathroom:

            a. 7:35:28 A.M. -CO Mosley is observed entering the staff bathroom and closing the

                door behind her.

            b. 7:39:02 A.M. -CO Mosley is observed opening the bathroom door, standing in the

                entrance of the bathroom, and looking out into the nearby dining area in the general

                direction where the inmate is located.

            c. 7:39:16 A.M. - The inmate walks into the bathroom, as CO Mosley stands in the

                doorway and appears to say something to the inmate as she walks past CO Mosley.

            d. 7:39:37 A.M. -The inmate walks out of the bathroom.



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8.     Also on or about June 4, 2015, at WCI, investigators interviewed with the inmate's associate,

      who visited WCI that day to see the inmate. The inmate's associate provided the following

       information: At the inmate's request, she met with CO Mosley, still in uniform, at a Wawa ,

       store in Dover, Delaware, on or about May 26, 2015, and delivered to CO Mosley $100 and

       a cell phone, knowing CO Mosley would keep the money and smuggle the cell phone into

       WCI for the inmate. Before meeting with CO Mosley, she bought two cell phones at

       Walmart. One phone was to become the smuggled phone: the other phone ("the second

       Walmart phone") was to be used by her to communicate with the smuggled phone. Prior to

       giving the smuggled phone to CO Mosley, she used the second Walmart phone to place a

       telephone call to the smuggled phone to make sure the two phones were working. She used

       her long-time personal cell phone ("the associate's personal phone") to place calls to CO

       Mosley's personal phone, arranging for the referenced meeting at the Dover Wawa. (In

       conjunction with this interview, the inmate's associate consented to retrieve from her car and

       give to investigators the second Walmart phone and the associate's personal phone.

     9. Also on or about June 4, 2015, WCI investigators examined the second Walmart phone,

        described as        LG Verizon cell phone; model number LG-VS415PP;                     SIN:

        501 CQGW0964031; MEID HEX: Al 00003ED03E7F. Its assigned telephone number was

        470-201-8534. Among its logged outgoing telephone numbers was the telephone numbers

        assigned to the smuggled phone. WCI investigators similarly examined the associate's

        personal phone, described as a Samsung Galaxy S-5 cell phone; model number SM-G900T;

        IMEi: 353682/06/135514/3; SIN: R38F803XWGX; one 8GB SD card; and one T-Mobile

         SIM card.    Its assigned telephone nlimber was 302-887-0072.           Among its logged

        incoming/outgoing calls were two calls to CO Mosley's personal cell phone number- 302-

         241-7282. (CO Mosley listed with WCI staff her personal cell phone number for purposes

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•   I




                of being contacted while off-duty to report for overtime work.) More specifically, the call

                log of the associate's personal phone reflects that on May 26, 2015, it placed two outgoing

                telephone calls to CO Mosley's phone number.            This information is independently

                confirmed by telephone company toll records for the associate's personal cell phone which

                reflect these same two outgoing calls, occurring on March 26, 2015, at the following times:

                   a. 10:07:10 P.M. (32 seconds) and

                   b. 11:00:28 P.M. (one minute, 27 seconds).

        10.   The United States submits that a search warrant is not essential to a lawful search of the three

              cell phones. As to the smuggled phone, no person could claim an expectation of privacy in

              a cell phone smuggled into a prison: as to the two cell phones given to investigators by the

              inmates associate, no search warrant is required because the inmate's associate consented to

              the search of her two phones. However, SA Balaguer, FBI, the former case agent, wanted

              the three phones search by a forensic expert, specifically, the Delaware State Police, Hi-Tech

              Crimes Unit. It, in turn, advised that out of an abundance of caution it would not conduct

              that search without a search warrant. Accordingly, on August 8, 2015, SA Balaguer obtained

              from this Court a Search Warrant (Case No. 15-110 M) to search the three phones. (The

              search warrant authorized the search of 23 cell phones. Twenty of the phones were smuggle

              cell phones seized at the J.T. Vaugh Correctional Center, in Smyrna Delaware.) Sometime

              afterwards, SA Balaguer delivered the relevant phones and the search warrant to the Hi-Tech

              Crimes Unit. ·However, it declined to do the searches because it deemed that too much time

              had lapsed between the issuance of the search warrant and the delivery of the 23 phones. The

              Hi-Tech Crimes Unit advised that it would search the three phones if a timelier search

              warrant were issued. Accordingly, your affiant seeks the instant search warrant.




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11.   Based on the information contained in this affidavit, your affiant believes that probable cause

      exists that the three cell phones, described more particularly on Attachment A, contain

      evidence, described more particularly on Attachment B, of violations of Title 18, United

      States Code, Section 1951(a)- Hobbs Act extortion under color of official right.




       Sworn todand subscribed before me
       this Z.2" day of}) ec.c.\"V\~e'{',
       2017.




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